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                               UNITED STATES DISTRICT
                           WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE

UNITED STATES OF AMERICA,                 )
                                          )       NO. CR04-249 RSL
              Plaintiff,                  )
                                          )       ORDER
       vs.                                )       TO CONTINUE TRIAL
                                          )
HURTADO, ANTONIO,                         )
                                          )
              Defendant.                  )
                                          )

       THIS MATTER having come before the Court on the Stipulation of the government

and the defendant Antonio Hurtado requesting an order setting a new trial date and having

considered the stipulation of the parties and all files and records herein,

       THE COURT FINDS AS FOLLOWS:

       1. Failure to grant a continuance in this case will deny counsel the reasonable time

necessary for effective preparation of trial and other pretrial proceedings, taking into

account the exercise of due diligence; and

       2. The ends of justice served by granting this continuance outweigh the best



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interest of the public and the defendant in a speedier trial; and

       3. The failure to grant a continuance in the proceedings will likely result in a

miscarriage of justice; all within the meaning of 18 U.S.C. § 3161 (h)(8)(A), (B)(iv).

       4.   The period of time from the current trial date until the new trial date

encompassed by the continuance shall be excluded from the computation of time under

the Speedy Trial Act.

       THE COURT THEREFORE ORDERS THAT:

       The trial shall be continued from July 27, 2005 to October 24, 2005. Pretrial

motions shall be heard on August 17, 2005.



       DONE this 18th day of July, 2005.



                                          A
                                          Robert S. Lasnik
                                          United States District Judge


Respectfully submitted,
___/s/_______________________
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Telephonic Approval
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